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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
RIGOBERTO CHAVEZ, Jr., )
) No. 17 C 3102
Plaintiff, )
) Honorable Charles Norgle, Sr.
V. ) Judge Presiding
)
RICARDO MARIN, et al. )
)
Defendants. )

Agreed Confidentiality Order

The parties to this Agreed Confidentiality Order have agreed to the terms of this Order;

accordingly, it is ORDERED:

1. Scope. All materials produced or adduced in the course of discovery, including
initial disclosures, responses to discovery requests, deposition testimony and exhibits, and
information derived directly therefrom (hereinafter collectively “documents”), shall be subject to
this Order concerning Confidential Information as defined below. This Order is subject to the
Local Rules of this District and the Federal Rules of Civil Procedure on matters of procedure and

calculation of time periods.

ee Confidential Information. As used in this Order, “Confidential Information”
means information designated as “CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER” by
the producing party that falls within the following category: (a) disciplinary records of Ricardo
Marin. Information or documents that are available to the public may not be designated as

Confidential Information.

3. Designation.
 

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(a) A party may designate a document as Confidential Information for
protection under this Order by placing or affixing the words “CONFIDENTIAL -
SUBJECT TO PROTECTIVE ORDER” on the document and on all copies in a manner
that will not interfere with the legibility of the document. As used in this Order, “copies”
includes electronic images, duplicates, extracts, summaries or descriptions that contain
the Confidential Information. The marking “CONFIDENTIAL - SUBJECT TO
PROTECTIVE ORDER?” shall be applied prior to or at the time of the documents are
produced or disclosed. Applying the marking “CONFIDENTIAL - SUBJECT TO
PROTECTIVE ORDER” to a document does not mean that the document has any status
or protection by statute or otherwise except to the extent and for the purposes of this
Order. Any copies that are made of any documents marked “CONFIDENTIAL -
SUBJECT TO PROTECTIVE ORDER?” shall also be so marked, except that indices,
electronic databases or lists of documents that do not contain substantial portions or
images of the text of marked documents and do not otherwise disclose the substance of

the Confidential Information are not required to be marked.

(b) The designation of a document as Confidential Information is a
certification by an attorney or a party appearing pro se that the document contains

Confidential Information as defined in this order.!

4. Protection of Confidential Material.

 

' An attorney who reviews the documents and designates them as CONFIDENTIAL - SUBJECT TO PROTECTIVE
ORDER must be admitted to the Bar of at least one state but need not be admitted to practice in the Northern
District of Illinois unless the lawyer is appearing generally in the case on behalf of a party. By designating
documents confidential pursuant to this Order, counsel submits to the jurisdiction and sanctions of this Court on the
subject matter of the designation.
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(a) General Protections. Confidential Information shall not be used or
disclosed by the parties, counsel for the parties or any other persons identified in
subparagraph (b) for any purpose whatsoever other than in this litigation, including any

appeal thereof.

()) Limited Third-Party Disclosures. The parties and counsel for the parties
shall not disclose or permit the disclosure of any Confidential Information to any third
person or entity except as set forth in subparagraphs (1)-(9). Subject to these
requirements, the following categories of persons may be allowed to review Confidential

Information:

(1) Counsel. Counsel for the parties and employees of counsel who have
responsibility for the action;

(2) Parties. Individual parties and employees of a party but only to the extent
counsel determines in good faith that the employee’s assistance is
reasonably necessary to the conduct of the litigation in which the
information is disclosed;

(3) The Court and its personnel;

(4) Court Reporters and Recorders. Court reporters and recorders engaged for
depositions;

(5) Contractors. Those persons specifically engaged for the limited purpose of
making copies of documents or organizing or processing documents,
including outside vendors hired to process electronically stored
documents;

(6) Consultants and Experts. Consultants, investigators, or experts employed
by the parties or counsel for the parties to assist in the preparation and trial
of this action but only after such persons have completed the certification
contained in Attachment A, Acknowledgment of Understanding and
Agreement to Be Bound;

(7) Witnesses at depositions. During their depositions, witnesses in this action
to whom disclosure is reasonably necessary. Witnesses shall not retain a
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copy of documents containing Confidential Information, except witnesses
may receive a copy of all exhibits marked at their depositions in
connection with review of the transcripts. Pages of transcribed deposition
testimony or exhibits to depositions that are designated as Confidential
Information pursuant to the process set out in this Order must be
separately bound by the court reporter and may not be disclosed to anyone
except as permitted under this Order.

(8) Author or recipient. The author or recipient of the document (not including
a person who received the document in the course of litigation); and

(9) Others by Consent. Other persons only by written consent of the
producing party or upon order of the Court and on such conditions as may
be agreed or ordered.

(c) Control of Documents. Counsel for the parties shall make reasonable
efforts to prevent unauthorized or inadvertent disclosure of Confidential Information.
Counsel shall maintain the originals of the forms signed by persons acknowledging their

obligations under this Order for a period of three years after the termination of the case.

Ds Inadvertent Failure to Designate. An inadvertent failure to designate a document
as Confidential Information does not, standing alone, waive the right to so designate the
document; provided, however, that a failure to serve a timely Notice of Designation of deposition
testimony as required by this Order, even if inadvertent, waives any protection for deposition
testimony. If a party designates a document as Confidential Information after it was initially
produced, the receiving party, on notification of the designation, must make a reasonable effort
to assure that the document is treated in accordance with the provisions of this Order. No party
shall be found to have violated this Order for failing to maintain the confidentiality of material
during a time when that material has not been designated Confidential Information, even where
the failure to so designate was inadvertent and where the material is subsequently designated

Confidential Information.
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6. Filing of Confidential Information. This Order does not, by itself, authorize the
filing of any document under seal. Any party wishing to file a document designated as
Confidential Information in connection with a motion, brief or other submission to the Court

must comply with LR 26.2.

7. No Greater Protection of Specific Documents. Except on privilege grounds not
addressed by this Order, no party may withhold information from discovery on the ground that it
requires protection greater than that afforded by this Order unless the party moves for an order

providing such special protection.

8. Challenges by a Party to Designation as Confidential Information. The
designation of any material or document as Confidential Information is subject to challenge by

any party. The following procedure shall apply to any such challenge.

(a) Meet and Confer. A party challenging the designation of Confidential
Information must do so in good faith and must begin the process by conferring directly
with counsel for the designating party. In conferring, the challenging party must explain
the basis for its belief that the confidentiality designation was not proper and must give
the designating party an opportunity to review the designated material, to reconsider the
designation, and, if no change in designation is offered, to explain the basis for the
designation. The designating party must respond to the challenge within five (5) business

days.

(b) Judicial Intervention. A party that elects to challenge a confidentiality
designation may file and serve a motion that identifies the challenged material and sets

forth in detail the basis for the challenge. Each such motion must be accompanied by a
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competent declaration that affirms that the movant has complied with the meet and confer
requirements of this procedure. The burden of persuasion in any such challenge
proceeding shall be on the designating party. Until the Court rules on the challenge, all
parties shall continue to treat the materials as Confidential Information under the terms of

this Order.

9. Action by the Court. Applications to the Court for an order relating to materials or
documents designated Confidential Information shall be by motion. Nothing in this Order or any
action or agreement of a party under this Order limits the Court’s power to make orders

concerning the disclosure of documents produced in discovery or at trial.

10. | Use of Confidential Documents or Information at Trial. Nothing in this Order
shall be construed to affect the use of any document, material, or information at any trial or
hearing. A party that intends to present or that anticipates that another party may present
Confidential information at a hearing or trial shall bring that issue to the Court’s and parties’
attention by motion or in a pretrial memorandum without disclosing the Confidential
Information. The Court may thereafter make such orders as are necessary to govern the use of

such documents or information at trial.
11. Confidential Information Subpoenaed or Ordered Produced in Other Litigation.

(a) If a receiving party is served with a subpoena or an order issued in other
litigation that would compel disclosure of any material or document designated in this
action as Confidential Information, the receiving party must so notify the designating

party, in writing, immediately and in no event more than three court days after receiving
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the subpoena or order. Such notification must include a copy of the subpoena or court

order.

(b) The receiving party also must immediately inform in writing the party
who caused the subpoena or order to issue in the other litigation that some or all of the
material covered by the subpoena or order is the subject of this Order. In addition, the
receiving party must deliver a copy of this Order promptly to the party in the other action

that caused the subpoena to issue.

(c) The purpose of imposing these duties is to alert the interested persons to
the existence of this Order and to afford the designating party in this case an opportunity
to try to protect its Confidential Information in the court from which the subpoena or
order issued. The designating party shall bear the burden and the expense of seeking
protection in that court of its Confidential Information, and nothing in these provisions
should be construed as authorizing or encouraging a receiving party in this action to
disobey a lawful directive from another court. The obligations set forth in this paragraph
remain in effect while the party has in its possession, custody or control Confidential

Information by the other party to this case.

12. Challenges by Members of the Public to Sealing Orders. A party or interested
member of the public has a right to challenge the sealing of particular documents that have been
filed under seal, and the party asserting confidentiality will have the burden of demonstrating the

propriety of filing under seal.

13, Obligations on Conclusion of Litigation.
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(a) Order Continues in Force. Unless otherwise agreed or ordered, this Order
shall remain in force after dismissal or entry of final judgment not subject to further

appeal.

(b) Obligations at Conclusion of Litigation. Within sixty-three days after
dismissal or entry of final judgment not subject to further appeal, all Confidential
Information and documents marked “CONFIDENTIAL - SUBJECT TO PROTECTIVE
ORDER” under this Order, including copies as defined in § 3(a), shall be returned to the
producing party unless: (1) the document has been offered into evidence or filed without
restriction as to disclosure; (2) the parties agree to destruction to the extent practicable in
lieu of return;” or (3) as to documents bearing the notations, summations, or other mental
impressions of the receiving party, that party elects to destroy the documents and certifies

to the producing party that it has done so.

(c) Retention of Work Product and one set of Filed Documents.
Notwithstanding the above requirements to return or destroy documents, counsel may
retain (1) attorney work product, including an index that refers or relates to designated
Confidential Information so long as that work product does not duplicate verbatim
substantial portions of Confidential Information, and (2) one complete set of all
documents filed with the Court including those filed under seal. Any retained

Confidential Information shall continue to be protected under this Order. An attorney

 

* The parties may choose to agree that the receiving party shall destroy documents containing Confidential
Information and certify the fact of destruction, and that the receiving party shall not be required to locate, isolate and
return e-mails (including attachments to e-mails) that may include Confidential Information, or Confidential
Information contained in deposition transcripts or drafts or fina! expert reports.
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may use his or her work product in subsequent litigation, provided that its use does not

disclose or use Confidential Information.

(d) Deletion of Documents filed under Seal from Electronic Case Filing
(ECF) System. Filings under seal shall be deleted from the ECF system only upon order

of the Court.

14. Order Subject to Modification. This Order shall be subject to modification by the
Court on its own initiative or on motion of a party or any other person with standing concerning

the subject matter.

15. No Prior Judicial Determination. This Order is entered based on the
representations and agreements of the parties and for the purpose of facilitating discovery.
Nothing herein shall be construed or presented as a judicial determination that any document or
material designated Confidential Information by counsel or the parties is entitled to protection
under Rule 26(c) of the Federal Rules of Civil Procedure or otherwise until such time as the

Court may rule on a specific document or issue.

16. Persons Bound. This Order shall take effect when entered and shall be binding
upon all counsel of record and their law firms, the parties, and persons made subject to this Order

by its terms.

So Ordered.

Dated - B ff Ue

 

US. District Judge Updtiede fe
U.S. Magistrate Judge
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WE SO MOVE
and agree to abide by the
terms of this Order

s/Steven Molitor

 

Signature

Steven Molitor
Printed Name

Counsel for: Plaintiff

Dated: 8/2/2018

WE SO MOVE
and agree to abide by the
terms of this Order

/s/ Andrew O’ Donnell
Signature

Andrew O’ Donnell
Printed Name

Counsel for: Defendant

Dated: 8/2/2018
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ATTACHMENT A

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
RIGOBERTO CHAVEZ, Jr., )
) No. 17 C 3102
Plaintiff, )
) Honorable Charles Norgle, Sr.
Vv. ) Judge Presiding
)
RICARDO MARIN, et al. )
)
Defendants. )
ACKNOWLEDGMENT
AND
AGREEMENT TO BE BOUND

The undersigned hereby acknowledges that he/she has read the Confidentiality Order
dated in the above-captioned action and attached hereto, understands the terms thereof, and
agrees to be bound by its terms. The undersigned submits to the jurisdiction of the United States
District Court for the Northern District of Illinois in matters relating to the Confidentiality Order
and understands that the terms of the Confidentiality Order obligate him/her to use materials
designated as Confidential Information in accordance with the Order solely for the purposes of
the above-captioned action, and not to disclose any such Confidential Information to any other

person, firm or concern.

The undersigned acknowledges that violation of the Confidentiality Order may result in

penalties for contempt of court.

Name:

 
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Job Title:

 

Employer:

 

Business Address:

 

 

 

Date:

 

 

Signature

Adopted 06/29/12
